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                                         NO. 22-1280

                         UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT

                                     COALITION FOR TJ,

                                                                Plaintiff-Appellee,
                                               vs.

                           FAIRFAX COUNTY SCHOOL BOARD,

                                                            Defendant-Appellant.

                On Appeal From The United States District Court for the Eastern
                     District of Virginia, Case No. 1:21-cv-00296-CMH
                                  The Hon. Claude M. Hilton


                                   REPLY BRIEF OF APPELLANT


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                                        INTRODUCTION

              The Coalition’s brief brims with inflammatory rhetoric and sweeping

        accusations that the admissions policy for TJ (the Plan) was adopted for the nefarious

        purpose of discriminating against Asian Americans. What it lacks is any serious

        effort to grapple with the undisputed facts or controlling Equal Protection law. That

        is doubtless because the facts and the law doom its case.

              The Coalition all but ignores the undisputed facts at the heart of this case.

        Those facts establish that the Plan is a race-neutral, race-blind effort to break down

        socioeconomic and geographic barriers that held back students of all races. The Plan

        provides students of all races an equal opportunity to gain admission to TJ, and

        Asian-American students in fact gained admission at rates that exceeded their

        percentage of the applicant pool. There is not a shred of evidence that the Board

        adopted the Plan for the purpose of discriminating against Asian Americans. Nor is

        there a shred of evidence that the Board adopted the Plan to align TJ admissions with

        districtwide racial demographics or to ensure any set admissions percentages for any

        racial group.

              Given these undisputed facts, established law forecloses a finding that the

        Board intentionally discriminated against Asian Americans. Discriminatory intent

        also cannot be inferred from the Plan’s alleged disparate impact on Asian

        Americans. That is so both because the Coalition did not even attempt to make a


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        statistically significant showing that the Plan—and not changes in the applicant pool

        in 2021 or normal year-over-year fluctuation—actually caused the 2021 change in

        Asian-American admission rates, and because such year-over-year comparisons are

        not probative of disparate impact in any event. To prove disparate impact, the

        Coalition must show that the Plan made it disproportionately more difficult for

        Asian Americans than students of other races to gain admission to TJ. But the

        undisputed facts foreclose such a showing. Nor has the Coalition identified anything

        else from which discriminatory intent could be inferred.

              What the Coalition does instead is repeat incessantly the phrase “racial

        balancing,” in the evident hope that by dint of repetition it can create the false

        impression that the Board engaged in the kind of racial engineering that the

        Constitution forbids. But “racial balancing” has an established meaning: taking

        steps to ensure “specified percentages” of particular racial groups gain admission.

        Fisher v. University of Texas, 570 U.S. 297, 311 (2013) (Fisher I). The Plan does

        nothing of the sort. To the contrary, the Plan’s design prevents the Board from

        predicting, much less controlling, what the racial composition of the incoming class

        will be. With respect to race, the most that can be said is that several Board members

        expressed the hope that breaking down socioeconomic and geographic barriers

        would result in greater numbers of Black and Hispanic students being admitted to




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        TJ. That is not racial balancing and does not otherwise raise any equal protection

        concerns.

              In the end, the Coalition’s argument comes down to the extraordinary

        proposition that the Constitution forbids the Board from adopting race-blind

        measures designed to break down socioeconomic and geographic barriers that

        disadvantaged students of all races, because doing so might increase the number of

        Black and Hispanic students admitted to TJ, and reduce the number of Asian-

        American students.     No precedent supports that untenable view of the Equal

        Protection Clause. Adopting it would invalidate measures that the Supreme Court

        has repeatedly identified as appropriate race-neutral methods of advancing diversity,

        such as the University of Texas’s “Top Ten Percent” plan. Fisher I, 570 U.S. at 305.

        More broadly, it would render constitutionally suspect any action taken by any

        governmental body that could foreseeably alter the benefits available to or burdens

        imposed upon any racial group—a position the Supreme Court has emphatically

        rejected. Washington v. Davis, 426 U.S. 229, 239 (1976). Indeed, it would be the

        antithesis of respect for the principle of Equal Protection of the Laws.

              The district court’s decision must be reversed.




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                                           ARGUMENT

        I.    The Coalition has not demonstrated that the Plan disparately impacts
              Asian Americans.

              A.     The district court improperly relied on a before-and-after
                     comparison to assess disparate impact.

              1.     To establish disparate impact under Village of Arlington Heights v.

        Metropolitan Housing Development Corp., a plaintiff must prove that the challenged

        policy “bears more heavily on one race than another.” 429 U.S. 252, 266 (1977)

        (citation omitted). The Coalition attempts to meet this burden by pointing to the fact

        that fewer Asian Americans were admitted under the Plan than in prior years. But

        the Coalition adduced no evidence establishing what actually caused that change.

        Instead, the Coalition’s case rests entirely on the unproven assumption that the

        differential necessarily resulted from the features of the Plan that the Coalition

        attacks—and not other factors such as the much larger and more diverse applicant

        pool in 2021 or even normal year-over-year fluctuations. Such ipse dixit is no

        substitute for proof. Arlington Heights, 429 U.S. at 266 (examining “impact of the

        official action” (emphasis added)).

              As the Coalition acknowledges (Br.26-27), fluctuations in admissions

        demographics are “reasonably expected,” for any number of reasons. To “get to first

        base” on its disparate impact claim, therefore, the Coalition had to make a

        statistically significant showing that the change in the proportion of admitted

        students who were Asian American was caused by the Plan, as opposed to other
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        factors. Boston Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of City of

        Boston, 996 F.3d 37, 46 (1st Cir. 2021); Watson v. Fort Worth Bank & Tr., 487 U.S.

        977, 995 (1988). The Coalition offered no such evidence. Instead, the Coalition

        (Br.27) mocks the very idea that it should be required to make a statistically

        significant showing that the data actually proves what the Coalition alleges—a

        burden that all plaintiffs carry. 1

               The need for statistically significant proof of disparate impact is particularly

        important given the record in this case, which suggests that factors other than the

        Plan account for the single-year decrease at the heart of the Coalition’s complaint.

        Historically, Asian-American admission percentages were lower in years when

        Asian Americans’ percentage of the applicant pool was lower. JA560-JA570. That

        was true in 2021 as well, when the Asian-American proportion of the applicant pool

        fell to 48.59% from 56.08%. JA675. Furthermore, the number of applicants

        increased by 36% in 2021; and many more applicants from non-feeder schools

        applied than in previous years. Opening.Br.31. Indeed, the acceptance rate for

        Asian-American applicants under the Plan (19.48% in 2021) was well within the



        1
          Contrary to the Coalition’s argument (Br.26), statistical significance measures the
        causal relationship between the policy and the claimed effect, not merely the
        magnitude of the effect. Watson, 487 U.S. at 995 (statistical significance measures
        whether differences are “sufficiently substantial [to] raise . . . an inference” of
        causation). The Coalition’s failure to demonstrate statistical significance means it
        failed to prove causation.
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        historical 2004-2020 range of 16.8% to 25%, suggesting that the changes in

        admissions percentages may be explained by the differences in the applicant pool.

        See TJ.Alumni.Amicus.Br.15. Surely, the Coalition cannot maintain that Asian

        Americans must constitute a specific percentage of every admitted class, regardless

        of how many Asian-American students applied or the strength of their applications

        relative to the applicant pool. Yet that appears to be the upshot of the Coalition’s

        argument.

                 If anything, the Coalition’s reliance on year-over-year data undermines its

        case. For five years preceding the Plan’s adoption, Asian Americans’ portion of

        offerees fluctuated between 65% and 75%, by as much as 10% per year. Significant

        shifts thus occurred even without any admissions policy overhaul. In 2021, the

        Plan’s first admissions cycle, Asian Americans received 54% of offers—but in 2022,

        they received 60%. 2 That is only 5 points lower than the 65% of offers that Asian

        Americans received at times under the previous policy. The year-over-year numbers

        therefore are far from “sufficient to show” to show that the Plan caused a disparate

        impact (Br.28); they could easily be explained by year-over-year variations in the

        applicant pool and in particular by the substantial differences between the pool in

        2021 and the preceding year. Moreover, the Coalition’s dissatisfaction with 2022’s

        60% figure—a modest fluctuation from pre-Plan demographics—underscores that


        2
            The Coalition cited the 60% figure, which is not in the record, in its response brief.
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        the Coalition’s true objective is to treat pre-Plan class composition as a racial quota

        that the Board must meet every year.

              2.     Even more to the point, a before-and-after comparison does not

        demonstrate disparate impact. In North Carolina State Conf. of NAACP v. McCrory,

        831 F.3d 204 (4th Cir. 2016), this Court held that a comparison of election-to-

        election turnout did not establish disparate impact because yearly fluctuations in

        turnout could be attributable to factors unrelated to the challenged policy. Id. at 232.

        Nonetheless, the Coalition insists (wrongly) that McCrory supports its case. For

        example, the Coalition claims (Br.25) that McCrory merely cautioned against

        reliance on a comparison to a single election. In fact, McCrory listed multiple

        reasons for doubting the probative value of the election-to-election comparison,

        including that the relevant elections were “highly sensitive to factors likely to vary

        from election to election.” 831 F.3d at 232 (citation omitted). That reasoning applies

        with even greater force to an admissions process that necessarily sees a 100% year-

        over-year applicant turnover.

              McCrory also establishes the proper comparison under Arlington Heights: the

        chosen baseline must allow the court to evaluate whether the challenged policy

        disproportionately disadvantages one racial group relative to others. McCrory, 831

        F.3d at 230-31; Arlington Heights, 429 U.S. at 269. Contrary to the Coalition’s

        assertion (Br.24), McCrory did not merely examine whether fewer African

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        Americans voted under the challenged voting law, which eliminated certain voting

        mechanisms and required voter ID. The critical point was that the new law made it

        disproportionately more difficult for African Americans than for members of other

        racial groups to vote. 831 F.3d at 231 (African Americans “disproportionately

        lacked the photo ID required by [the statute],” and had “disproportionately used” the

        eliminated voting mechanisms).       The Court emphasized that because African

        Americans had disproportionately relied on the eliminated voting accommodations

        out of “necessity,” their elimination imposed a structural “burden” on African

        Americans and not on other races. Id. at 231, 233. That analysis highlights the

        touchstone of the inquiry: whether the challenged policy affords all races an equal

        opportunity, or whether instead it disfavors a particular race.

              McCrory makes clear that in the present context the proper measure of

        disparate impact is whether Asian Americans have more difficulty than members of

        other racial groups in gaining admission under the same policy. See Boston Parent

        Coal., 996 F.3d at 46 (measuring admissions policy’s relative racial impact based on

        “distribution of invitations”). The Supreme Court has long recognized in the

        indistinguishable context of hiring decisions that the “proper” way to assess

        disparate impact is to measure each racial group’s portion of the eligible applicant

        pool against its proportion of offers. Hazelwood Sch. Dist. v. United States, 433 U.S.

        299, 307-08 (1977); see also Wards Cove Packing Co. v. Atonoio, 490 U.S. 642,

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        650-52 (1989); Washington, 426 U.S. at 246-47. Remarkably, the Coalition does

        not even mention this authority in its brief. Had the district court applied this law,

        it would have necessarily rejected the Coalition’s disparate-impact allegation

        because Asian Americans were the only racial group that substantially outperformed

        its share of the applicant pool under the Plan, receiving 54.36% of offers despite

        comprising 48.59% of the applicant pool. JA675.

              The Coalition protests (Br.33-34) that using the eligible applicant pool as the

        baseline would permit “racial balancing,” so long as the allegedly disfavored racial

        group’s portion of offers does not fall below its percentage of the applicant pool.

        Not so. “Racial balancing,” as the Supreme Court has explained, is admitting “some

        specified percentage of a particular group merely because of its race or ethnic origin”

        in order to match a predetermined demographic baseline. Such a system is “patently

        unconstitutional” no matter how racial balance is achieved. Fisher I, 570 U.S. at

        311 (citation omitted); Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1,

        551 U.S. 701, 729-30 (2007). In a true case of “racial balancing,” therefore, the

        Arlington Heights disparate impact analysis would be both inapposite and

        unnecessary. But where, as here, no such evidence exists (see Part II, infra), a

        plaintiff proceeding under Arlington Heights must show that a challenged policy

        disproportionately disadvantages the plaintiff group compared to members of other

        races. Otherwise, there is no basis for inferring discriminatory intent.

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              B.     There is no evidence in the record that any aspect of the Plan
                     disadvantaged Asian Americans relative to other races.

              The Coalition’s disparate-impact argument fails for a second reason: its theory

        (Br.29) of “how and why” the Plan purportedly disadvantaged Asian Americans is

        meritless. Lacking probative evidence of causation, the Coalition instead offers up

        a blizzard of allegations about the minutia of the admissions process, hoping to

        create the impression that the Plan reflects a nefarious design. The record evidence

        refutes every one of those allegations.

              1.     The Coalition’s principal contention (Br.24) is that the 1.5% allocation

        per middle school disfavored Asian-American applicants by reducing the number of

        seats awarded to “six prominent feeder schools” that historically sent large numbers

        of Asian-American students to TJ. That argument fails for two reasons.

              First, the argument rests on the false assumption that the six feeder schools

        are proxies for Asian-American applicants overall. The Board’s opening brief

        demonstrated—and the Coalition notably does not dispute (Br.29-30)—that the top

        six feeder schools 3 do not differ markedly from the non-feeder schools in their

        percentages of Asian-American students. Two feeder schools had Asian-American

        populations of approximately 45%, but the other four had 20-27% Asian-American


        3
          The Coalition errs in including Cooper rather than Jackson as a top-six feeder
        school. Opening.Br.33.n4. And the Coalition ignores that eight feeder schools lost
        seats under the Plan, preferring to focus on its chosen six schools. The Coalition’s
        argument fails no matter which schools are considered.
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        students—approximately the same range as eight other County schools. The same

        is true of the applicant pools: in the last year under the prior policy, Asian Americans

        accounted for 50% to 64% of applications in four of these six schools, compared

        with 51% to 67% of applications from five non-feeder schools; and at least 45% of

        applications from five other non-feeder schools. Sealed.JA3203-3358. And in

        previous years various non-feeder schools had application pools consisting of

        approximately 70-80% Asian Americans. There was thus no significant difference

        in the percentages of Asian-American applicants at feeder and non-feeder schools.

              Second, the Coalition conveniently ignores that the Plan expanded

        opportunities for Asian-American students at non-feeder schools. Disparate impact

        must be assessed based on the “cumulative” effect of the challenged policy, not on

        cherry-picked elements. McCrory, 831 F.3d at 231; see N. Carolina State Conf. of

        the NAACP v. Raymond, 981 F.3d 295, 310 (4th Cir. 2020). Here, the expansion of

        opportunities at non-feeder schools ensured that reducing offers to feeder schools

        imposed no structural disadvantage on Asian Americans as a class.

              Because many non-feeder schools had Asian-American student and applicant

        percentages comparable to the feeder schools, the 1.5% allocation did not eliminate

        Asian Americans’ primary avenue for admission. Although the allocation decreased

        the seats available to feeder schools, it substantially increased the seats available to

        non-feeder schools, including at the many non-feeder schools with Asian-American

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        applicant pools comparable to those of the feeder schools. Under the previous

        policy, students at the County’s 20 non-feeder schools received an average of 80

        offers each year. The Plan doubled that total, enabling students at non-feeder schools

        to compete for approximately 160 allocated seats, plus all the unallocated seats.

        Sealed JA2989-3904. Asian Americans at non-feeder schools benefited from that

        allocation: Asian Americans admitted from non-feeder schools increased from 46 to

        79.

                The Coalition complains (Br.29-30) that applicants from the top six feeder

        schools face “stiffer competition” than applicants from non-feeder schools. But

        because numerous non-feeder schools had applicant pools with comparably high

        Asian-American percentages, any increased competition at feeder schools would not

        suggest that Asian Americans as a group faced “stiffer competition.” The Coalition

        also fails to account for the unallocated seats, which were overwhelmingly awarded

        to students at feeder schools, and which must be considered in assessing the Plan’s

        cumulative impact. When all seats are considered, the feeder schools’ admission

        rates were very similar to those of non-feeder schools. The average admissions rate

        of the top six feeder schools for the first year under the Plan was 13.2%, while the

        average rate of the five non-feeder schools with similar applicant pools (of at least

        44% Asian Americans) 4 was 15.6%. And for the ten underrepresented schools


        4
            Those schools were Cooper, Franklin, Liberty, Lanier, and Thoreau.
                                                 12
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        (seven of which had applicant pools between 21% and 36% Asian-American), the

        average admission rate under the Plan was 15.2%. 5 Sealed JA2989-3202. Thus, the

        Plan did not force Asian Americans to weather disproportionately heavier

        competition: Asian-American applicants were distributed among feeder and non-

        feeder schools, and these schools had similar admissions rates.

              The Coalition next contends, for the first time on appeal, that the Plan

        disadvantaged students at Advanced Academic Program (AAP) Level IV Centers.

        The Coalition alleges (Br.31) that the Plan “targets” those centers because the six

        feeder schools discussed in its brief are also AAP Level IV Centers. But the

        Coalition ignores the seven other Centers that are non-feeder schools, five of which

        (Glasgow, Hughes, Sandburg, South County, and Twain) were designated

        “historically underrepresented” schools. JA3906. Those Centers, like the feeder-

        school Centers, serve highly qualified, advanced applicants. That those schools

        nonetheless were underrepresented under the previous policy illustrates the extent to

        which geographic and socioeconomic factors skewed the admissions process. The

        Plan addressed that skew. In 2021, 53 applicants from the five underrepresented

        Center schools received offers, of whom twenty-four were Asian-American

        (nineteen more than the year before). Sealed.JA2989-3358. The 1.5% allocation


        5
         Although the Coalition suggests (Br.29-30) that gaining admission from feeder
        Carson was significantly more competitive than from underrepresented school
        Whitman, in fact their respective admissions rates were 15.4% and 20%.
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        therefore did not disproportionately burden schools with Centers—far less the

        Asian-American students who attend them.

              In the end, the Coalition’s “feeder schools” argument reveals that the

        Coalition’s true complaint is the Plan’s supposed “disparate impact” (Br.29-30) on

        students at feeder schools. But “feeder school” students are not a protected class

        under the Equal Protection Clause, which demands evidence of impact on Asian

        Americans.

              2.     The Coalition’s assertion (Br.32) that the underrepresented schools

        factor “likely penalized” Asian Americans is also baseless. That factor affects only

        offers for unallocated seats—and 81 of the 88 unallocated-seat offers given to

        County students in 2021 went to feeder-school students. JA2903. Those feeder-

        school students clearly were not disadvantaged by the factor. And Asian Americans

        may well have received some or all of the seven remaining unallocated offers. The

        underrepresented schools factor could not possibly have “penalized” Asian

        Americans.

                                           *     *      *

              In sum, the Coalition failed to prove its allegations that the 1.5% allocation

        and the underrepresented schools factor “targeted” or disproportionately

        disadvantaged Asian-American applicants. To the contrary, the Plan operated

        exactly as one would expect of a policy whose criteria explicitly focus on geographic

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        and socioeconomic diversity. It redistributed seats previously concentrated among

        a handful of schools in more affluent areas to all the middle schools in the County.

        Asian Americans benefited from those changes; offers to Asian Americans from

        low-income backgrounds and underrepresented schools increased by 50 and 24,

        respectively. JA677. Indeed, under the Plan, Asian Americans remained the most

        highly represented group, and their portion of the admitted class continued to exceed

        their share of the applicant pool—rising in 2022 to 60%, a number that could rise or

        fall in future years depending on the applicant pool. Given these undisputed facts,

        accepting the Coalition’s disparate-impact theory would mean that any policy

        change associated with a demographic shift, including a decrease in representation

        of the existing majority group, would be constitutionally suspect—even if the

        resulting policy provides equal opportunity to all racial groups. Such a regime would

        make it “exceedingly difficult for government actors to change existing policies”

        from one race-neutral approach to another. Stay.Op.7.

        II.   The Coalition failed to demonstrate that the Board acted with
              discriminatory intent.

              The district court’s decision also must be reversed because the undisputed

        record refutes the court’s finding that the Board adopted the Plan for invidious

        discriminatory reasons. As the Coalition concedes (Br.56), the record is devoid of

        evidence that the Board acted “‘because of,’ not merely ‘in spite of’ its adverse

        effects upon an identifiable group”—that is, with a purpose of decreasing Asian-

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        American representation. Personnel Adm’r of Mass. v. Feeney, 442 U.S. 256, 279

        (1979) (emphasis added). The Coalition therefore resorts to mischaracterizing the

        record to argue that the Board was focused on race. And the Coalition then doubles

        down on that mischaracterization, asserting that any desire to increase Black and

        Hispanic representation amounts to impermissible “racial balancing” and invidious

        discrimination against Asian Americans.

              At every step, the Coalition distorts the facts and the law. The undisputed

        evidence demonstrates that the Board sought to use race-neutral measures to break

        down barriers—geographic, socioeconomic, language, and special needs—that had

        hindered students of all races from gaining admission to TJ. Individual Board

        members also hoped that addressing these barriers would increase Black and

        Hispanic representation. The Coalition’s pejorative ipse dixit notwithstanding, the

        desire Board members expressed to remove socioeconomic and geographic barriers

        to improve prospects for all students simply is not racial balancing, which is the

        practice of ensuring that “specified percentages” of particular racial groups gain

        admission. Fisher I, 570 U.S. at 311 (citation omitted). Nor does it amount to

        invidious discrimination in a “zero-sum” system; courts have repeatedly reaffirmed

        that governments may undertake race-neutral measures, including to increase racial

        diversity, with awareness of their demographic consequences. See Opening.Br.53;

        Fisher I, 570 U.S. at 311; City of Richmond v. Croson, 488 U.S. 469, 509-10 (1989).

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              A.     Undisputed record evidence demonstrates that the Board did not
                     adopt the Plan to achieve racial balancing or for any other
                     constitutionally impermissible purpose.

              1.     The Coalition’s discriminatory-purpose argument founders at the outset

        because the most probative evidence of the Board’s intent—the substance of the Plan

        itself and the evidence upon which the Board acted—disproves discriminatory

        intent. According to the Coalition and the district court, the Board adopted the Plan

        to “increase and decrease the representation of certain racial groups at TJ to align

        with districtwide enrollment data.” JA2972-73. But the Plan does no such thing. It

        is completely race-neutral and race-blind, and its design makes any demographic

        fine-tuning impossible. The Plan’s elements—including eliminating the admissions

        fee and standardized tests, and adding the 1.5% allocation and Experience Factors—

        work together to break down the socioeconomic and geographic barriers that had

        held back talented students of all races. That was their purpose. The Coalition does

        not dispute that those elements address legitimate “factors usually considered

        important” by school districts. See Spurlock v. Fox, 716 F.3d 383, 397 (6th Cir.

        2013). And the Coalition cannot explain why a Board bent on matching districtwide

        demographics would design an admissions policy that left it with no ability to

        control, or even to know, what the racial composition of the admitted class would

        be, and that would produce a student body that departed so dramatically from

        “districtwide enrollment data.” Opening.Br.21, 41-45.


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              Nor can the Coalition explain how the Board could have used geography “as

        a proxy” for race (Br.52) without any modeling predicting how the Plan’s race-blind

        provisions would affect racial demographics. It is undisputed that the Board had no

        such data. Opening.Br.44. And contrary to the Coalition’s assertion (Br.51), the

        Board did not “request[]” “racial data” on earlier, unenacted admissions proposals.

        The cited documents discuss weighting the Experience Factors without mentioning

        race. JA181-82. And although FCPS staff modeled how an earlier unenacted

        proposal would affect socioeconomic, geographic, and racial diversity, JA466-72,

        they did not model how the enacted Plan would affect racial demographics.

              Even less substantial is the Coalition’s contention (Br.11, 51) that the Board

        “would have been able” to use publicly available “data on the racial composition of

        each middle school” to model the Plan’s racial impact. The Coalition’s clever use

        of the conditional tense elides the lack of evidence that the Board actually did any

        modeling. In reality, the undisputed evidence established that no such modeling was

        done. Nor would it have been practicable: most feeder and non-feeder schools had

        similar Asian-American populations and applicant pools, see pp. 10-11, supra; and

        the Experience Factors, which played a significant role in determining admission,

        indisputably were not modeled by FCPS staff. JA2919, JA145. Indeed, if the

        publicly-available data were sufficient to predict the Plan’s racial impact, the




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        Coalition’s own predictions should not have been so wildly off base.           JA22

        (predicting Asian Americans would receive 31% of offers).

              It is therefore absurd to contend that the Board engaged in racial balancing,

        and the district court plainly erred when it so ruled.

              2.     Tacitly conceding that the direct evidence refutes its racial balancing

        claim, the Coalition asserts that Arlington Heights’ circumstantial factors—the

        history of the policy’s enactment, contemporaneous statements, and purported

        procedural deviations—support an inference of invidious intent. Even putting aside

        the fact that an intent to use race-neutral means to increase opportunities for

        underrepresented minorities is not “racial balancing,” Fisher I, 570 U.S. at 311

        (citation omitted), the Coalition’s account lacks record support.       Indeed, the

        Coalition’s brief is one long exercise in manufacturing a basis for its claim: the

        Coalition systematically mischaracterizes statements to give them a racial

        connotation that they do not have (Br.7, 48, 50, 56-57); improperly relies on

        statements of non-decisionmakers whose statements are not attributable to the Board

        (Br.47), Thai Meditation Ass’n of Alabama, Inc. v. City of Mobile, Alabama, 980

        F.3d 821, 836 (11th Cir. 2020); and repeats false accusations that the Board sought

        to manipulate TJ’s racial demographics (Br.49, 54, 56-57).

              a.     The Coalition asserts (Br.38) that the Plan’s adoption was “trigger[ed]”

        by Virginia’s passage of a budget law requiring Governors’ Schools to report on

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        diversity goals for “historically underserved students.” 2020 Va. Acts ch. 1289.

        That is false. The uncontroverted evidence showed that the school system had been

        working for years to improve socioeconomic, geographic, and racial diversity at TJ.

        JA779-82; JA772-73.

              Nor is there support for the Coalition’s bald assertion (Br.38) that the budget

        law drove the Board to “move towards racial balance.” The Coalition cites no

        evidence that the Board construed the budget law as a mandate for racial balancing

        or that the Board sought specified racial percentages in response. The statements

        highlighted by the Coalition as supposedly indicating a racial focus (Br.39) were

        primarily made by Superintendent Brabrand, and none mentions race. JA381,

        JA488, JA495. The Coalition emphasizes Superintendent Brabrand’s statement that

        a state task force discussed creating a timeline to bring Governor’s Schools within

        “5% of diversity in the systems they represent.” JA364. But Brabrand’s full update

        described the task force as focused on socioeconomic status without mentioning

        race, id., and the Coalition proffers no evidence that the Board was influenced by

        that one-off statement. In all events, FCPS’s diversity report merely expressed a

        general objective of improving “diversity” of all “historically underrepresented




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        groups,” including students from “underrepresented schools,” “economically

        disadvantaged students,” and ELLs. JA1073-74. 6

              More generally, the Coalition imputes (Br.40-41) to the Board an intent to

        engage in “racial balancing” based on statements from three Board members in June

        2020 expressing dissatisfaction with the levels of Black and Hispanic admissions to

        TJ. JA259, 426, 435. But the Coalition omits that the same Board members made

        clear that increasing racial diversity was not their predominant aim: each emphasized

        that the policy should address socioeconomic, geographic, and ELL diversity as

        well. JA435, 404, JA2369. In all events, individual Board members’ desire to use

        race-neutral measures to address the fact that the number of admitted Black students

        was “too small to report,” JA2959 (a desire that the Coalition professed to share,

        JA889) would not be an impermissible purpose. Croson, 488 U.S. at 507. Finally,

        that three Board members expressed dissatisfaction with Black and Hispanic

        admission rates raises no inference that the 12-member Board—which operates by

        majority vote—adopted the Plan for that reason, much less to achieve racial balance.

        See, e.g., Thai Meditation Ass’n, 980 F.3d at 836 (“intent of one or a few

        decisionmakers” cannot be imputed “to the entire group”); Rosenstiel v. Rodriguez,



        6
          The Coalition’s assertion (Br.40) that the murder of George Floyd spurred the
        Board to engage in racial balancing is preposterous. The Coalition cites only the
        fact that 2020 admissions data showing the low number of Black offerees was
        released shortly after George Floyd’s death, which hardly shows causation.
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        101 F.3d 1544, 1552 (8th Cir. 1996); Opening.Br.38. Indeed, Board members’

        statements upon voting for the Plan—which the Coalition ignores—are far more

        probative of their ultimate reasons for adopting the Plan, and those statements

        emphasized geographic and socioeconomic, not racial, diversity. E.g., JA2340,

        JA2342, JA2346, JA2352, JA2375.

              b.    The Coalition next contends (Br.41-46) that the Board “rushed” the

        Plan’s adoption in a manner that reflects discriminatory intent. Once again, the

        Coalition distorts the record. The process was not rushed and none of the evidence

        the Coalition cites even remotely suggests that the Board was trying to hide

        discriminatory intent. The Coalition highlights (Br.42) some Board members’

        concern in September 2020 that the initial lottery proposal was rushed, JA104-110—

        but the Board addressed those concerns by deferring discussion to allow further

        community outreach and additional staff analysis. JA618, JA883. In fact, the Board

        waited until December 2020 to adopt a plan, by which time Board members said

        they were ready to make a decision.

              The Coalition’s allegations about a lack of transparency (Br.45-46) are also

        pure fiction. The Coalition highlights (Br.45) a statement by one Board member

        criticizing the lack of community engagement early in the process, JA394—but

        ignores that the Board and County staff engaged in “extensive discussion, work

        sessions, community discussion, [and] community feedback” over the following 10

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        weeks, JA1250, and that Board members commended this community engagement

        before adopting the Plan, JA2818. And although the Coalition asserts that the public

        was not given advance notice of the 1.5% allocation element, the allocation was a

        variation of existing regional geographic-diversity proposals, and the Board had

        publicly requested “school-based” proposals. JA883. Finally, Board members’

        uncertainty about the details of FCPS officials’ implementation of the Plan does not

        remotely justify an inference of discriminatory intent.

              Most fundamentally, the only procedural irregularities relevant under

        Arlington Heights are those that suggest discriminatory intent, 429 U.S. at 267—

        and the Coalition has not identified a single procedural misstep that could be

        construed as an effort to mask an intent to discriminate against Asian Americans.

              c.     The Coalition next contends (Br.47) that certain of the “Board’s

        actions” demonstrate that the Board’s goal was racial balancing. But the cited

        actions were not those of the Board and they do not reflect any focus on race, much

        less an effort to pursue racial balancing.

              The Coalition asserts (Br.47-48) that the first, rejected merit lottery proposal

        was an attempt at “racial balancing” based on Superintendent Brabrand’s

        presentation of the proposal, which stated that TJ “should reflect the diversity of

        FCPS.” But the presentation defined “diversity” to include socioeconomic, ELL,

        and racial diversity, and modeled the proposal’s impact accordingly. JA293-296.

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        Moreover, Brabrand was not a decisionmaker so his presentation is not probative of

        the Board’s intent. The Board’s preliminary consideration of an unenacted proposal

        that never sought racial balancing does not suggest that the later-adopted Plan was

        an exercise in racial balancing.

              The Coalition next contends (Br.48) that the Board rejected the merit lottery

        proposal because it did not do enough to racially balance TJ’s population. That is

        false. The Coalition cites statements of two Board members who asked whether the

        lottery, given its random nature, would increase “diversity”—but, again, the question

        was about diversity of all types, including geographic and socioeconomic, which

        says nothing about racial balancing. JA101, JA406. The Coalition also cites two

        irrelevant Board member emails, neither of which mentioned race. JA428, JA430.

        And the Coalition omits that two other Board members expressed concern that the

        lottery would disadvantage Asian Americans—precisely the opposite of the

        impermissible intent the Coalition ascribes to the Board. JA2918.

              The Coalition’s assertion (Br.49) that FCPS staff acted “at the Board’s

        direction” to design the Experience Factors “in the service of racial balance” is

        doubly baseless. The cited emails discuss how to weight the Experience Factors to

        “level the playing field” for all “historically underrepresented candidates”—

        including “those facing challenges like living in poverty and special ed.” JA176-

        177. Nor is there any evidence that staff sought to manipulate the Experience Factors

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        to achieve racial balance; to the contrary, they expressed uncertainty about, and did

        not analyze, the Experience Factors’ impact. Id. Finally, the Coalition cites no

        evidence whatsoever that the cited discussion took place “at the Board’s direction.”

              d.     Finally, grasping at yet another straw, the Coalition egregiously

        misrepresents (Br.7, 55-56) Board member statements expressing solicitude for

        Asian Americans. The Coalition asserts (Br.7) that Board members Omeish and

        Pekarsky “recognized that Asian Americans are ‘discriminated against in this

        process [of revising TJ admissions].’” The bracketed language is the Coalition’s

        invention, and its effect is to give the quoted phrase a meaning that is the opposite

        of what its speaker intended. In a sworn declaration, Pekarsky explained that this

        discussion referred to the discriminatory effect of the “TJ admission process that was

        in place until fall 2020” on underprivileged students, including Asian Americans.

        JA2917-2918 (emphasis added). The remaining statements (Br.55-56) criticized

        Superintendent Brabrand for making comments that could offend some Asian

        Americans, and expressed concern that Brabrand’s lottery proposal—which, again,

        the Board rejected—could disadvantage Asian Americans. JA119, 125, 128.

              B.     An objective of improving racial diversity, along with other types
                     of diversity, is not invidious discriminatory intent.

              1.     The Coalition has failed to present any evidence that the Board sought

        to disadvantage Asian Americans or engaged in racial balancing. At every turn, the

        Board focused on removing socioeconomic, geographic, and other barriers to entry

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        for all races. The Plan’s race-blind design reflects that focus. The evidence at most

        demonstrates that some Board members—whose individual views are distinct from

        those of the Board as a corporate body, see p.21-22, supra—hoped that alleviating

        these barriers would also increase Black and Hispanic representation. There is

        nothing unconstitutional about expressing such laudable sentiments.

              The Coalition’s position therefore boils down to the extraordinary contention

        (Br.56-57) that, as the district court put it, policies “designed to increase Black and

        Hispanic enrollment” “by necessity” discriminate against whatever racial group

        happens to be in the majority. JA2981. But a desire to break down socioeconomic

        and geographic barriers for all groups is simply not equivalent to an intent to

        disadvantage the existing majority group. The former reflects a legitimate desire to

        ensure that “individuals of all races may equally take advantage of valuable

        opportunities,” U.S.Amicus.Br.4, while the latter would almost certainly rest on

        racial stereotypes. Pointing to precedents addressing race-based classifications

        (Br.57-58), the Coalition responds that “racial discrimination” does not deserve “less

        scrutiny” if it is meant to “help” a particular group. But policies that classify

        individuals based on race are constitutionally suspect, and therefore subject to strict

        scrutiny regardless of their intent, Grutter v. Bollinger, 539 U.S. 306, 329-30 (2003),

        while race-blind policies like the Plan constitute “discrimination” only if they are




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        intended to disadvantage a particular racial group. Feeney, 442 U.S. at 279;

        Arlington Heights, 429 U.S. at 266-267.

              The Coalition’s argument flies in the face of Feeney’s clear holding that

        decisionmakers’ awareness that a policy might have an impact on a particular group

        does not amount to invidious discrimination. 442 U.S. at 279. The Coalition

        considers Feeney inapposite because the statute there benefited veterans rather than

        underrepresented racial groups. But the Supreme Court has repeatedly approved

        race-neutral measures designed to increase representation of underrepresented racial

        groups in zero-sum situations, demonstrating that the Court does not consider such

        measures discriminatory. See Grutter, 539 U.S. at 342; Croson, 488 U.S. at 507; id.

        at 526 (Scalia, J., concurring); Fisher I, 570 U.S. at 333 (Thomas J. concurring).

        The Coalition has no answer for those decisions.

              2.    Adopting the Coalition’s position would upend decades of settled

        precedent and inflict staggering consequences on policymakers at all levels of

        government. Treating as invidiously discriminatory any policy adopted partly out

        of a desire to promote racial diversity would invalidate scores of race-neutral

        initiatives long understood to be constitutional, including admissions programs like

        the University of Texas’ Top Ten Percent Plan. But see Fisher I, 570 U.S. at 312,

        315; id. at 333 (Scalia, J., concurring) (Top Ten Percent plan, which was enacted to

        increase representation of Blacks and Hispanics, operated “without discrimination”).

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               The sweeping consequences do not end there: if a foreseeable adverse impact

        on a racial group is evidence of invidious intent, then “a whole range of tax, welfare,

        public service, regulatory, and licensing statutes” that are foreseeably “more

        burdensome” for particular racial groups would be unconstitutional. Washington,

        426 U.S. at 229. So too would a wide range of race-neutral measures designed to

        allocate limited government resources—for instance, as the States’ Amicus Brief

        illustrates (Br.27-28), policies intended to address both socioeconomic and racial

        health disparities. That has never been the law, and for good reason. Schuette v.

        Coal. to Defend Affirmative Action, Integration & Immigrant Rts. & Fight for Equal.

        By Any Means Necessary (BAMN), 572 U.S. 291, 313 (2014) (plurality op.); id. at

        330-31 (Scalia, J., joined by Thomas, J., concurring in the judgment); Jefferson v.

        Hackney, 406 U.S. 535, 548-49 (1972). The Equal Protection Clause does not

        require governments to “blind themselves” to demographic realities, Spurlock, 716

        F.3d at 394, nor does it deprive them of the flexibility to enact race-neutral measures

        with awareness that such measures may increase (or decrease) diversity.

        III.   The Coalition’s strict scrutiny analysis underscores the error of its equal
               protection analysis.

               The Coalition’s strict scrutiny analysis is irrelevant, as the Coalition has not

        demonstrated that the Plan had a disparate impact on Asian Americans or reflects

        discriminatory intent. It is also incoherent and self-refuting. Invoking the analysis

        that applies to race-based college admissions policies, the Coalition urges the Court

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        to examine whether race-neutral alternatives would have achieved the Board’s goals.

        But the Plan is already race-neutral, and the Coalition’s position is that any race-

        neutral policy adopted in part to increase racial diversity (or with that foreseeable

        effect) is invalid. Therefore, any race-neutral alternative to the Plan that could

        similarly alter racial demographics would presumably also be invalid.               The

        Coalition’s strict scrutiny analysis thus confirms the radical nature of its position.

                                           CONCLUSION

              For the foregoing reasons, this Court should reverse the district court’s grant

        of summary judgment to the Coalition and remand with instructions to grant

        summary judgment to the Board.




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        DATED: July 7, 2022                MUNGER, TOLLES & OLSON LLP



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                              CERTIFICATE OF COMPLIANCE

              Pursuant to Fed. R. App. P. 32(a)(7)(C) and Circuit Rule 32-1, I certify that

        the attached motion is proportionally spaced, has a typeface of 14 points and contains

        6491 words.


        DATED: July 7, 2022                  MUNGER, TOLLES & OLSON LLP



                                             By:        /s/ Donald B. Verrilli, Jr.
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                                    CERTIFICATE OF SERVICE

                 I hereby certify that on July 7, 2022, I electronically filed the foregoing with

        the Clerk of the United States Court of Appeals for the Fourth Circuit using the

        CM/ECF system, which sent notification of such filing to all registered CM/ECF

        users.


        DATED: July 7, 2022                     MUNGER, TOLLES & OLSON LLP



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